                Case 19-14225-pmm                      Doc 43         Filed 11/10/21 Entered 11/10/21 12:48:39      Desc Main
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                                             IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                 IN RE: Sean J. Willey                                                      CHAPTER 13
                                                              Debtor(s)
                                                                                            BKY. NO. 19-14225 PMM


                                        ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                   To the Clerk:

                          Kindly enter my appearance on behalf of MidFirst Bank and index same on the master
                   mailing list.


                                                                                        Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Rebecca Solarz
                                                                                 09 Nov 2021, 14:10:34, EST



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